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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

             Plaintiff,

 vs.
                                              Case No. 17-20183
                                              HON. MARK A. GOLDSMITH

 HAROLD LASHAWN NERO (D-5),

           Defendant.
 __________________________________________________________________


                   DEFENDANT NERO’S THIRD MOTION
                   TO REVOKE THE DETENTION ORDER


       Defendant Harold Nero, represented by attorney Mark Magidson, moves this

 Honorable Court to revoke the detention order now that the government has filed

 another Motion for a continuance of the trial (Doc. 512)(Nero has filed a

 contemporaneous Response objecting to the government’s motion). This Court

 denied Nero’s prior motions to revoke the detention order, (Order, Doc. 183; and

 Order, Doc 303); however, Nero now argues that his continued detention violates

 his right to due process, and that compelling circumstances support his temporary

 release under 18 U.S.C. § 3142(i)(4).




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                                        Respectfully submitted,
 Dated: October 5, 2020
                                        By: /s/Mark H. Magidson
                                          MARK H. MAGIDSON (P25581)
                                          Attorney for Defendant Nero
                                          1 Park Ave, Suite 1207
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                                          (313) 963-4311
                                          mmag100@aol.com




                        Certificate Regarding Concurrence


       I certify and affirm, in compliance with E.D. Mich. LR 7.1(a)(2)(A), that I

 explained the nature of this motion and its legal basis and requested but did not

 obtain concurrence in the relief sought.


                                        By: /s/Mark H. Magidson
                                          MARK H. MAGIDSON (P25581)
                                          Attorney for Defendant Nero




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                          BRIEF IN SUPPORT OF
                    DEFENDANT NERO’S THIRD MOTION
                    TO REVOKE THE DETENTION ORDER


                                       FACTS

       Defendant is charged in a multi-count, Superseding Indictment (Doc. 98),

 with Count 1, Sex Trafficking Conspiracy, contrary to 18 U.S.C. § 1594(c); Counts

 3–8, sex trafficking by force, fraud and coercion, contrary to 18 U.S.C. § 1591(a)–

 (b), and or aiding and abetting of the same, contrary to 18 U.S.C. § 2; Count 11,

 Conspiracy to Distribute a Controlled Substance, contrary to 21 U.S.C. §§

 841(a)(1); 841(b)(1)(A); 841(b)(1)(C); and Count 18, Maintaining Drug-Involved

 Premises, contrary to 21 U.S.C. § 856(a)(1); and or aiding and abetting of the

 same, contrary to 18 U.S.C. § 2.

       Defendant Nero has been in custody since June 30, 2017, and he was

 arraigned on the superseding indictment on September 28, 2017.

       Before Nero was in custody, the government and co-defendants had

 stipulated to a finding that this was a “mega” case. Nero has never stipulated that

 this is a mega case.

       Nero agreed to two continuances excluding the time from his arraignment to

 May 23, 2018. (Stip. Order, Doc. 171, Pg ID 482-483). Nero agreed to those

 continuances despite the fact that the government chose to indict him before it had




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 sufficiently reviewed the evidence it had collected. Nero has objected to the

 additional continuances requested by the government.

        Nero has been in custody for three years and three months since his arrest,

 and he has been held in a limited, short term facility, a county jail that is only

 designed to house offenders for a maximum of one year. He will have been in

 custody for three years and 10 months by the time of the proposed May 24, 2020

 trial date.

        Additionally, Nero’s physical condition puts him at risk during the COVID-

 19 pandemic. He has a mildly enlarged aorta with a small pericardial effusion

 discovered after radiology treatment while in custody. (Exhibit A - Medical

 Record, 6/11/19). Nero has chest pain, hypertension, and his echocardiogram

 showed “severe asymmetric septal hypertrophy” with the septal and posterior wall

 measurements indicating “suspicious for hypertrophic cardiomyopathy.” (Ex. B -

 Med. Rec., 6-17-19).

        In August 2020, Nero had constipation, abdominal bloating, an umbilical

 hernia, hiatal hernia, intermittent vomiting, and was sent to a general surgeon for

 evaluation. (Ex. C - Med. Rec., 8/18/20).

        Nero has been prescribed 19 medications. (Ex. D - Medication Chart). He is

 still taking 16 of those medications, only recently discontinuing three. Id.




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        Nero has a Body Mass Index of 39.73, weighing 356 pounds, and 76 inches

 tall, as of August 18, 2020. (Ex. E - Vital Signs). The Centers for Disease Control

 states that “having obesity, defined as a body mass index (BMI) of 30 or above,

 increases your risk of severe illness from COVID-19,” and it is one of the

 conditions that increase the risk of severe COVID-19 illness.1

        Nero had also been diagnosed with Rhabdomyolysis back in December

 2018. (Ex. F - Discharge Diagnosis 12/23/18). Rhabdomyolysis can be a life-

 threatening condition caused by muscle breakdown, muscle death, severe kidney

 damage, and death. (Ex. G - Cleveland Clinic Article).




                                      ARGUMENT


        This Court may reopen a hearing if it: (1) finds that information exists that

 was not known to the defendant at the time of the original hearing; and (2) the

 information "has a material bearing on the issue whether there are conditions of

 release that will reasonably assure" the defendant's appearance and the safety of the

 community. 18 U.S.C. § 3142(f)(2).




 1
  Centers for Disease Control website: https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
 precautions/people-with-medical-conditions.html#obesity

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 I.    Due process.

       The U.S. Supreme Court has stated that “[i]n evaluating the constitutionality

 of conditions or restrictions of pretrial detention that implicate only the protection

 against deprivation of liberty without due process of law, we think that the proper

 inquiry is whether those conditions amount to punishment of the detainee.” Bell v.

 Wolfish, 441 U.S. 520, 535 (1979) (footnote omitted). “[A] detainee may not be

 punished prior to an adjudication of guilt in accordance with due process of law.”

 Id.

       “There is no particular point at which a valid pretrial detention becomes

 unconstitutionally excessive; rather, the determination depends on the individual

 circumstances.” U.S. v. Nagi, Case No. 09-1995, Doc. 22-1, Pg ID 3 (6th Cir.

 2009)(see attached order Exhibit H).

       The Sixth Circuit court of Appeals adopted the Second Circuits’ factors in

 determining whether a term of pretrial detention qualifies as constitutionally

 excessive. Id. Those factors are “(1) the length of the detention; (2) the extent of

 the prosecution’s responsibility for the delay of the trial; (3) the gravity of the

 charges; and (4) the strength of the evidence supporting the detention.” Id. (citing

 United States v. El-Hage, 213 F.3d 74, 79 (2d Cir. 2000); the remaining citations

 omitted).




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        “Other circuits have recognized that the length of pretrial detention raises a

 constitutional issue at some point.” United States v. Gonzales-Claudio, 806 F.2d

 334, 339 (2d Cir. 1986)(citing cases from the Seventh, Third, and Tenth Circuits);

 see also United States v. Zannino, 798 F.2d 544, 548 (1st Cir. 1986); United States

 v. Quartermaine, 913 F.2d 910, 917-18 (11th Cir. 1990).

        In Nagi, supra, the Sixth Circuit upheld the district court’s findings that no

 conditions would reasonably assure the defendant’s appearance and the safety of

 the community. (Ex. H - Nagi, Pg ID 2). This Court has also made the same

 findings regarding Nero. However, the Court reversed the district court’s decision

 no to revoke the detention order, and “remanded for the district court to fix a

 reasonable bail and/or conditions for release of the defendant, pending a future

 trial.” Id. at 4.

        The defendant in Nagi had been in pretrial custody for “three-plus years.” Id.

 at 4. The Court found that that factor weighed in favor of the defendant. Id. Nero

 has been in custody for three years and three months.

        The Court in Nagi also found that the government bore “some responsibility

 for the more than two-year delay between [the defendant’s] arrest and the

 superseding indictment.” Id. at 3. Here, the government chose to indict Nero before

 it had sufficiently reviewed the evidence it had collected, which caused delay in




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 reviewing the discovery. Technical issues with reviewing the discovery also

 contributed to delays.

       The charges against the Nagi defendant were serious, but they did not

 involve the more serious conspiracy to commit murder charges that some of the co-

 defendants faced, “some of whom remain free on bond, and none of whom have

 spent anywhere close to three-plus years in detention.” Id. at 4. Here, the charges

 are serious, but they do not involve murder. Nero’s alleged acts were a minor part

 of the overall charges. He was not a leader, and his defense has always been mere

 presence.

       Finally, this Court must consider the evidence of risk of flight and

 dangerousness. See El-Hage, 213 F.3d at 80. The Nagi defendant had surrendered

 his passport, and the Sixth Circuit found that the risks of flight and injury to other

 persons and the community could be ameliorated by house arrest and an electronic

 tether, which weighed in favor of release. (Ex. H - Nagi, Pg ID 4).

       That is the case here. Nero can be monitored just as the defendant in Nagi.

 After remand, the Nagi defendant was ordered to meet with Pretrial Services three

 times a week, avoid contact with the co-defendants, home detention, and many

 other conditions. (Ex. I - Nagi Bond Cond., Case No. 06-20465, Doc. 1006, Pg ID

 2618-619). Those same conditions will be sufficient to ensure the safety of the

 community as well as Nero’s return to court.



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 II.   Compelling reasons for temporary release.


       This Court may grant the temporary release of Nero:

       The judicial officer may, by subsequent order, permit the temporary release
       of the person, in the custody of a United States marshal or another
       appropriate person, to the extent that the judicial officer determines such
       release to be necessary for preparation of the person’s defense or for
       another compelling reason. (Emphasis added.) [18 U.S.C. § 3142(i)(4).]


       Nero argues that his recent physical infirmity during the beginning of the

 COVID-19 pandemic on or about March 2020, his inability to assist in his defense,

 and the continuations of the trial date because of COVID-19 are compelling

 reasons for his temporary release.

       “[T]he release must be 'temporary,' no longer than needed to complete the

 'necessary' defense preparations or to resolve the other 'compelling'

 circumstances." United States v. Bothra, 2020 U.S. App. LEXIS 16383, p. 4 (6th

 Cir. May 21, 2020)(quoting U.S. v. Shelton, 2020 U.S. Dist. LEXIS 62655, 2020

 WL 1815941, p. 3 (W.D. Ky. Apr. 9, 2020)(citation omitted)). Nero’s release can

 be made temporary with significant conditions to ensure the community’s safety

 and his return to court with home arrest and electronic tether. For instance, he

 could be released for the next six months to allow his health to improve as well as

 allowing him to assist his defense. At the end of that six months, this Court could




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  review the issue of his detention in light of the ongoing changes in the COVID-19

  pandemic.

        A defendant's medical condition may present a compelling reason under

  under § 3142(i). See United States v. Rebollo-Andino, 312 Fed. App'x 346, 348

  (1st Cir. 2009)(noting the defendant could seek temporary release under § 3142(i)

  for medical reasons).

        Nero’s medical condition is serious, making him especially susceptible to

  COVID-19.


        In United States v. Kennedy, Case No. 18-20315, 2020 U.S. Dist. LEXIS

  56875 (E.D. Mich., Apr. 1, 2020), Judge Judith E. Levy revoked the defendant’s

  detention because the danger of COVID-19 was a compelling reason and release

  was necessary for Defendant to prepare his pre-sentencing defense. Id. at 2–3. The

  magistrate in Kennedy had ordered the defendant detained because of several

  violations of his pretrial release conditions: “failing several drug screens, failing to

  report to pretrial services, failing to report to inpatient substance abuse treatment,

  and failing to report for a bond review hearing.” Id. at 1–2.


        At the United States' request, on March 26, 2020 the Court conducted a bond

  review hearing and the defendant moved for bond. Id. at 2. After the hearing, the




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  district court temporarily revoked detention pursuant to 18 U.S.C. § 3142(i)(4) for

  two reasons:


        [F]irst, because under the facts of this case, the danger posed to Defendant in
        the Saginaw County Jail by the COVID-19 pandemic constitutes an
        independent compelling reason to temporarily release him from custody.
        Second, because temporary release is necessary for Defendant to prepare his
        pre-sentencing defense. [Kennedy, Case No. 18-20315, 2020 U.S. Dist.
        LEXIS 56875, p. 2–3.]


        The district court in Kennedy based its decision to release the defendant

  based upon the independent statutory ground of 18 U.S.C. § 3142(i)(4). Kennedy,

  Case No. 18-20315, 2020 U.S. Dist. LEXIS 56875, p. 5. 18 U.S.C. § 3142(i)(4) is

  a separate statutory ground, with separate statutory considerations, distinct from

  the United States' suggested approach through 18 U.S.C. §§ 3143(a)(1) and

  3142(g). See, e.g., United States v. Thornton, 787 F.2d 594, 594 (6th Cir. 1986)

  (Table decision) (suggesting that a district court could temporarily release a

  detainee pursuant to § 3142(i)(4) by subsequent order even after a prior order

  holding that the detainee was a flight risk or a risk to public safety pursuant to §

  3142(g)).

        Although the government in Kennedy argued that there were no known cases

  of COVID-19 at the jail where the defendant was detained, that the county officials

  had instituted precautionary measures, and that that the defendant’s symptoms and




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  underlying conditions did not render him particularly susceptible to COVID-19,

  the district court rejected those arguments:

        [The government’s argument failed] to address the facts of the current global
        public health crisis—particularly as Michigan prisons are beginning to see
        exponential spread of the disease. The seemingly preemptive nature of
        Defendant's release renders it no less necessary or compelling. To the
        contrary—as the above background makes clear—waiting for either
        Defendant to have a confirmed case of COVID-19, or for there to be a major
        outbreak in Defendant's facility, would render meaningless this request for
        release. Such a failure to act could have devastating consequences for
        Defendant and would create serious medical and security challenges to the
        existing prison population and the wider community. [Id. at 7–9.]


        “[C]ourts need not blind themselves to the likelihood of future harm merely

  because that harm has not yet occurred. Id. at 9 (citing Flanory v. Bonn, 604 F.3d

  249, 255 (6th Cir. 2010) (quoting Helling v. McKinney, 509 U.S. 25, 33, 113 S. Ct.

  2475, 125 L. Ed. 2d 22 (1993) ("We have great difficulty agreeing that prison

  authorities may not be deliberately indifferent to an inmate's current health

  problems but may ignore a condition of confinement that is sure or very likely to

  cause serious illness and needless suffering the next week or month or year . . . a

  remedy for unsafe conditions need not await a tragic event.")

        The district court in United States v. Stephens, 447 F. Supp. 3d 63 (S.D.N.Y.

  2020), addressed recent cases considering COVID-19 and temporary release:

        Although there is not yet a known outbreak among the jail and prison
        populations, inmates may be at a heightened risk of contracting COVID-19
        should an outbreak develop. See, e.g., Joseph A. Bick, Infection Control in
        Jails and Prisons, 45 Clinical Infectious Diseases 1047, 1047 (Oct.

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        2007)(noting that in jails "[t]he probability of transmission of potentially
        pathogenic organisms is increased by crowding, delays in medical
        evaluation and treatment, rationed access to soap, water, and clean laundry,
        [and] insufficient infection-control expertise"); see also Claudia Lauer &
        Colleen Long, US Prisons, Jails On Alert for Spread of Coronavirus,
        Associated Press (Mar. 7, 2020). The magnitude of this risk has grown
        exponentially since the March 6 hearing before this Court; at the end of the
        day on March 6, New York State had 44 confirmed cases of COVID-19, see
        Andrew Cuomo (@NYGovCuomo), Twitter (Mar. 6, 2020, 4:51 PM), but
        by the end of the day on March 18, that number had climbed to 2,382, see
        Mitch Smith, et al., Tracking Every Coronavirus Case in the U.S.: Full Map,
        N.Y. Times, Mar. 18, 2020. Though the BOP has admirably put
        transmission mitigation measures in place, see Federal Bureau of Prisons,
        Federal Bureau of Prisons COVID-19 Action Plan, in the event of an
        outbreak at the Metropolitan Correctional Center ("MCC") (where the
        Defendant is currently being detained), substantial medical and security
        challenges would almost certainly arise. A comprehensive view of the
        danger the Defendant poses to the community requires considering all
        factors—including this one—on a case-by-case basis. See, e.g., United
        States v. Raihan, No. 20-cr-68 (BMC) (JO), Dkt. No. 20 at 10:12-19
        (E.D.N.Y. Mar. 12, 2020) (deciding to continue a criminal defendant on
        pretrial release rather than order him remanded to the Metropolitan
        Detention Center due, in part, to the Magistrate Judge's recognition of the
        fact that "[t]he more people we crowd into that facility, the more we're
        increasing the risk to the community").

        [Stephens, 447 F. Supp. 3d at 65 (citations to website addresses omitted).]


        Courts considering whether temporary pretrial release is "necessary" under §

  3142(i) have considered: (1) the time and opportunity the defendant had to prepare

  for the trial and participate in his defense, (2) the complexity of the case and

  volume of information, and (3) the expense and inconvenience associated with

  preparing while incarcerated. Bothra, 2020 U.S. App. LEXIS 16383, p. 6 (citations

  omitted).

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        Because of COVID-19, Nero’s in-person meetings with counsel have been

  eliminated. There have been technical issues with reviewing the numerous hours of

  video surveillance footage, and Nero has been at times unable to watch some of the

  security camera video and pole cam footage. Nero has nervertheless been making

  notes as well as counsel regarding the 1000’s of hours of videos, but the zoom jail

  hearings do not allow for counsel and Nero to view the material together which

  would be more productive.

        This case is complex because of the volume of the government’s video

  footage, which needs to be reviewed for exculpatory, corroborating, or

  impeachment evidence. Preparing for trial while Nero is incarcerated is more

  expensive and inconvenient.

        Nero has always been interested in proceeding to trial and asserting his

  innocence. The interests of his co-defendants in continuances are not his. An ends-

  of-justice continuance under 18 U.S.C. § 3161(h)(8), requires a court to find that

  the ends of justice "outweigh the best interest of the public and the defendant in a

  speedy trial." 18 U.S.C. § 3161(h)(8) (A). “It does not say that the court may weigh

  the interests of codefendants.” United States v. Theron, 782 F.2d 1510, 1513 (10th

  Cir. 1986).




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  III.   Nero’s release plan.

         Nero recognizes that he is addicted to drugs and he needs professional

  support to enable him to return to society. He is therefore not asking that he be

  released to his home or the home of his father or other relative. In the past, he has

  been in-patient at SHAR, a residential treatment center2 located on West Grand

  Blvd. in Detroit. The organization also provides for transitional housing for up to a

  year following discharge/release from the treatment facility. The transitional

  housing program provides services such as continued counseling and training. Mr.

  Nero left the program several years ago but he has maintained contacts with the

  organization and has an “open” invitation to return. Nero now has poor health and

  he is older. The life style that he had been living has one ending; he does not want

  that. He is now ready accept treatment seriously.



  2
    Since 1969, Self-Help Addiction Rehabilitation, Inc. (SHAR) has provided high quality
  behavioral healthcare services to individuals in the Greater Detroit area. Founded in Detroit,
  Michigan by a priest and two recovering individuals, SHAR has grown and evolved from a small
  therapeutic community starting at a local parish to a multi-million dollar human service agency.
  We serve approximately 6,000 individuals annually through our various service centers. SHAR
  is a federally recognized 501(c)(3), accredited by CARF, licensed by the State of Michigan, and
  approved by BCBSM and other insurance carriers.
          SHAR's mission has been to assist disadvantaged individuals and to promote lifestyle
  enhancement. Regardless of whether the challenge the person faced was alcohol or other drug
  addictions, being a veteran or homeless, battling with mental or physical health issues, struggling
  women with children, or any number of other issues, SHAR has consistently developed
  innovative programming and services aimed at alleviating the pain of the disadvantaged
  individual (Taken from SHAR’s web site).




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        WHEREFORE, Nero moves this Honorable Court to revoke his detention

  order and grant his temporary release for six months, to be reviewed at that time,

  with conditions the Court deems appropriate.

                                          Respectfully submitted,
  Dated: October 5, 2020
                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero
                                            1 Park Ave, Suite 1207
                                            Detroit, MI 48226
                                            (313) 963-4311
                                            mmag100@aol.com




                             CERTIFICATE OF SERVICE


        I certify that on October 5, 2020, I electronically filed the above Motion with

  the Clerk of the Court using the CM/ECF system, which will send notification of

  such filing to the parties of record.


                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Nero




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